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                           ELEVENTH CIRCUIT TRANSCRIPT ORDER FORM
                       Provide all required information and check the appropriate box(es)

PART I.                                                 Transcript Information
Within 14 days of the filing of the notice of appeal, the appellant must complete this section and file this form with the District Court
Clerk and the Court of Appeals Clerk for all cases. 11th Cir. R. 10-1.

Short Case Style:M.H. and J.H., on behalf of their minor child, C.H. vs OMEGLE.COM, LLC
District Court No.:8:21-cv-00814-VMC-TGW                          Date Notice of Appeal Filed: 1/28/2022
Court of Appeals No. (if available): 22-10338
X No hearing X
☐            ☐ No transcript is required for appeal purposes ☐ All necessary transcript(s) already on file
☐ I am ordering a transcript of the following proceedings:
                               HEARING DATE(S)                      JUDGE/MAGISTRATE                     COURT REPORTER NAME(S)
☐ Pre-Trial Proceedings
☐ Trial
☐ Sentence
☐ Plea
☐ Other
☐ I certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the transcript(s).

☐ Criminal Justice Act: My completed AUTH-24 requesting authorization for government payment of transcripts has been uploaded
  in eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district court] or to the
  circuit judge [if ordered by or appointed by the circuit court]. [A transcript of the following proceedings will be provided only if
  specifically authorized in Item 13 on the AUTH-24: Voir Dire; Opening and Closing Statements of Prosecution and Defense;
  Prosecution Rebuttal; Jury Instructions.]
                    MARSH LAW FIRM PLLC / James R. Marsh, Esq.
Ordering Counsel/Party:
Address:    31 HUDSON YARDS, 11TH FL, NEW YORK, NY 10001
E-mail:    jamesmarsh@marsh.law                                                                   Phone No.: (212) 372-3030
   I certify that I have completed and filed Part I with the District Court Clerk and the Court of Appeals Clerk,
served all parties, AND sent a copy to the appropriate Court Reporter(s) if ordering a transcript. 11th Cir. R. 10-1.

Date:      2/11/2022        Signature:                                                           Attorney for:       Appellant

PART II.                                       Court Reporter Acknowledgment
Within 14 days of receipt, the Court Reporter must complete this section, file this form with the District Court Clerk, and send a copy
to the Court of Appeals Clerk and all parties. The transcript must be filed within 30 days of the date satisfactory arrangements for
paying the cost of the transcript were made unless the Court Reporter obtains an extension of time to file the transcript.

Date Transcript Order received:
☐ Satisfactory arrangements for paying the cost of the transcript were made on:
☐ Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:              Estimated no. of transcript pages:               Estimated filing date:

Date:                      Signature:                                                           Phone No.:

PART III.                      Notification That Transcript Has Been Filed In District Court
On the date the transcript is filed in the district court, the Court Reporter must complete this section, file this form with the District
Court Clerk, and send a copy to the Court of Appeals Clerk.
I certify that the transcript has been completed and filed with the district court on (date):

Date:                      Signature:

                                                                                                                                  Rev. 2/22
